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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


BROIDY CAPITAL MANAGEMENT LLC and
ELLIOTT BROIDY,

                     Plaintiffs,

            v.
                                                            Civil Action No. 1:19-cv-00150-DLF
NICOLAS D. MUZIN, JOSEPH ALLAHAM,
GREGORY HOWARD, and STONINGTON
STRATEGIES LLC,

                     Defendants.



                 NOTICE OF INTEREST BY NON-PARTY STATE OF QATAR


       Non-party State of Qatar (“Qatar”) hereby files a Notice of Interest in the above-

captioned litigation for the limited purpose of enabling it to monitor the proceedings to ensure

that its sovereignty and immunities are respected in any discovery that is conducted. In filing

this Notice, Qatar does not seek to intervene in this litigation, and does not waive any rights or

immunities, including its immunity from the jurisdiction of the courts of the United States

pursuant to the Foreign Sovereign Immunities Act (“FSIA”), 28 U.S.C. §§ 1602–1611.

       Plaintiffs in this case previously filed suit based on related allegations in the Central

District of California, naming as defendants both Qatar and certain of the Defendants in this

litigation. See Broidy Cap. Mgmt., LLC v. Qatar, No. 2:18-cv-02421 (C.D. Cal.). The Central

District of California dismissed that action, holding that Qatar is immune from suit under the

FSIA, and the Ninth Circuit affirmed the dismissal of Qatar on the basis of its immunity. See

Broidy Cap. Mgmt., LLC v. Qatar, 982 F.3d 582 (9th Cir. 2020), cert. denied, 141 S.Ct. 2704

(Mem.). Before the district court dismissed that action, Plaintiffs served over 80 third-party
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subpoenas, resulting in thousands of pages of document productions and one deposition. The

discovery sought included materials related to Qatar’s foreign policy, including diplomatic

communications protected by the Vienna Convention on Diplomatic Relations. See Supp.

Memo. in Opposition to Pls.’ Mot. Challenging Def. Qatar’s Designations of Material Under the

Protective Order, Broidy Cap. Mgmt., LLC v. Qatar, 2:18-cv-02421 (C.D. Cal. Oct. 26, 2018),

ECF 240. Plaintiffs sought to make certain of those materials public, and after an in camera

review, the court denied Plaintiffs’ attempt, finding that the documents and testimony at issue

“contain[ed] or comprise[d]” Highly Confidential information “relat[ed] to the conduct by Qatar

of its foreign policy.” Min. Order, Broidy Cap. Mgmt. LLC, v. Qatar, No. 2:18-cv-02421 (C.D.

Cal. Nov. 2, 2018), ECF 242.

        In light of Plaintiffs’ conduct of discovery in that related litigation, it appears to Qatar

that there is significant risk that Plaintiffs will pursue discovery in this action that does not

properly respect Qatar’s sovereignty and immunities. In this respect, Qatar notes that the United

States Court of Appeals for the District of Columbia Circuit emphasized its “trust [that] the

district court has the appropriate tools to protect Qatar’s absolute FSIA ‘immunity from trial and

the attendant burdens of litigation[.]’” Broidy Cap. Mgmt. LLC v. Muzin, 12 F.4th 789, 804

(D.C. Cir. 2021) (quoting Kilburn v. Socialist People’s Libyan Arab Jamahiriya, 376 F.3d 1123,

1126 (D.C. Cir. 2004)). Qatar respectfully requests that the Court add undersigned counsel to

the docket so that its counsel may monitor any filings and rulings, and participate as necessary

and appropriate as a non-party to this action in order to protect Qatar’s immunities and interests.




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Dated: October 21, 2021                     Respectfully submitted,

                                            /s/ David M. Zionts
 Mitchell A. Kamin*                         David M. Zionts (D.C. Bar No. 995170)
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                                            Counsel for non-party State of Qatar




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 21, 2021, I caused a true and correct copy of the

foregoing Notice of Interest by Non-Party State of Qatar to be filed through the Court’s e-file

and serve system, which will serve notice electronically on all counsel of record, as more fully

reflected on the Notice of Electronic Filing.

 Dated: October 21, 2021                             /s/ David M. Zionts
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